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     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Alvino Salmeron
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                  )   Case No.: 2:10-CR-0507-01 WBS
 9                                              )
                  Plaintiff,                    )   STIPULATION AND ORDER FOR
10                                                  CONTINUANCE OF JUDGMENT AND
                                                )   SENTENCING AND MODIFICATION
11         vs.                                  )   OF SCHEDULE FOR PSR
                                                )
12                                              )
13   ALVINO SALMERON,                           )
                                                )
14                Defendant.                    )
15                                              )
16
17         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

18   Judgment and Sentencing scheduled for August 26, 2013, at 9:30 a.m. is continued to

19   October 7, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested

20   because defense counsel needs additional time to prepare for the Pre-Sentence Report

21   (PSR). Daniel McConkie, Assistant United States Attorney, and Thomas A. Johnson,

22   Defendant’s attorney, agree to this continuance.

23
24   IT IS SO STIPULATED.

25
     DATED: June 17, 2013                               By:   /s/ Thomas A. Johnson
26                                                            THOMAS A. JOHNSON
                                                              Attorney for Defendant
27                                                            ALVINO SALMERON
28

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 1
     DATED: June 17, 2013                           BENJAMIN B. WAGNER
 2                                                  United States Attorney
 3                                            By:   /s/ Thomas A. Johnson for
                                                    DANIEL MCCONKIE
 4                                                  Assistant United States Attorney
 5
     IT IS SO ORDERED.
 6
 7   Dated: June 18, 2013
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              Case 2:10-cr-00507-WBS Document 77 Filed 06/19/13 Page 3 of 3



 1                               IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
                                                     )   Case No.: 2:10-CR-0507-WBS
 4   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
 5                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
 6        v.                                         )   SENTENCE REPORT
     ALVINO SALMERON,                                )
 7                                                   )
                    Defendant.                       )
 8                                                   )
 9
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
10                                               this Court.

11   Judgment and Sentencing date:                                October 7, 2013
12
     Reply or Statement                                           September 30, 2013
13
     Motion for Correction of the Pre-Sentence
14   Report shall be filed with the court and                     September 23, 2013
15   served on the Probation Officer and opposing
     counsel no later than:
16
     The Pre-Sentence Report shall be filed with
17   the court and disclosed to counsel no later                  September 16, 2013             __
18   than:

19   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    September 9, 2013
20   Probation Officer and opposing counsel
21   no later than:

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